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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                            District of Columbia
                                             __________    District of __________


                       McDonald, et al.                        )
                             Plaintiff                         )
                                v.                             )      Case No.     1:20-CV-01469
                         Trump, et al.                         )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiffs                                                                                                   .


Date:          06/04/2020
                                                                                         Attorney’s signature


                                                                               Jon Greenbaum, DC Bar No. 489887
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